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3
                                   UNITED STATES DISTRICT COURT
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                             FOR THE EASTERN DISTRICT OF CALIFORNIA
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6    UNITED STATES OF AMERICA,                              1:16-cr-00069-LJO-SKO-8
7                              Plaintiff,                   ORDER DENYING EXPEDITED
                                                            TRANSCRIPT REQUEST
8                       v.
9    KIANDRE JOHNSON,
10                             Defendant.
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13          This morning the Court received a letter from Defense Counsel Santos dated January 31, 2019,

14 detailing her justification for the request that expedited transcripts of the sentencing proceedings

15 testimony be authorized. A copy of this letter is attached and incorporated.

16 The bases are:

17          1.   That FBI Agent Luna's testimony was technical in nature and that a transcript will aid in

18 consulting with a defense expert in preparation for the argument pre-sentencing; and

19          2. That Detective Cerda's testimony concerning the issue of gangs and gang involvement and

20 the interpretation of the defendant's verbiage on videotapes was specific, and therefore Defense Counsel

21 wishes to make certain she did not miss any material portions of that testimony.

22          The request is DENIED on the following grounds:

23          1.   AGENT LUNA'S TESTIMONY: This witness testified on Monday, January 28, yet no

24 request was made until Wednesday afternoon. At that time, no justification was offered for the request

25 for an expedited transcript. When the Court immediately pointed that fatal flaw out on Wednesday and

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1    denied the request, late in the day on Thursday, January 31 the Court received the justification letter that

2    the Court did not see until 6:05 a.m. on Friday, February 1. The request for this testimony is untimely.

3    Nothing changed from Monday afternoon, January 28 until very late in the day on Thursday. (see #3,

4    below);

5           2. There was nothing unusual or complex about Detective Cerda's testimony. If the stated reason

6    constituted a justification for a transcript, let alone an expedited one, every bit of testimony for any

7    witness in any case would qualify. It does not.

8           3. The completed request for an expedited transcript of hours and hours of testimony received by

9    the Court early on a Friday morning for a hearing set for the following Monday is an unreasonable and

10 an inconsiderate and an unjustified demand to take away from the personal time of a court reporter's

11 needed time away from a very busy court.

12 IT IS SO ORDERED.

13      Dated:     February 1, 2019                           /s/ Lawrence J. O’Neill _____
                                                   UNITED STATES CHIEF DISTRICT JUDGE
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